                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


MICHAEL R. MCNEIL,

                    Plaintiff,

v.                                                  Case No. 6:22-cv-1037-CEM-EJK

WALI ALAFGHANI and TEJADA
MINI MARKET, LLC,

                    Defendants.
                                       /

                                       ORDER

      THIS CAUSE is before the Court on Plaintiff’s Stipulation of Voluntary

Dismissal with Prejudice (Doc. 10). Pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), the Clerk of Court is directed to close this case.

      DONE and ORDERED in Orlando, Florida on August 23, 2022.




Copies furnished to:

Counsel of Record



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